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                                                           - 883 -
                               Nebraska Supreme Court Advance Sheets
                                        304 Nebraska Reports
                                        LOYD v. FAMILY DOLLAR STORES OF NEB.
                                                   Cite as 304 Neb. 883



                             Cheryl Loyd, appellant, v. Family Dollar
                                Stores of Nebraska, Inc., appellee.
                                                      ___ N.W.2d ___

                                           Filed January 24, 2020.   No. S-19-230.

                 1. Jurisdiction: Appeal and Error. Before reaching the legal issues pre-
                    sented for review, it is the power and duty of an appellate court to deter-
                    mine whether it has jurisdiction over the matter before it, irrespective of
                    whether the issue is raised by the parties.
                 2. Judgments: Jurisdiction: Appeal and Error. A jurisdictional issue that
                    does not involve a factual dispute presents a question of law, which an
                    appellate court independently decides.
                 3. Jurisdiction: Final Orders: Appeal and Error. For an appellate court
                    to acquire jurisdiction of an appeal, there must be a final order entered
                    by the court from which the appeal is taken; conversely, an appellate
                    court is without jurisdiction to entertain appeals from nonfinal orders.
                 4. Workers’ Compensation: Final Orders: Appeal and Error. There are
                    three types of final orders which may be reviewed on appeal, one of
                    which is an order that affects a substantial right made during a special
                    proceeding. Because workers’ compensation proceedings are special
                    proceedings, the issue is whether the court’s order is final.
                 5. Workers’ Compensation: Compromise and Settlement. Under Neb.
                    Rev. Stat. § 48-139(2)(b)(iv) (Reissue 2010), if an application for
                    approval of a lump-sum settlement is not approved, the compensation
                    court may (1) dismiss the application at the cost of the employer or (2)
                    continue the hearing, in the discretion of the compensation court.
                 6. Rules of the Supreme Court: Attorney and Client: Jurisdiction:
                    Appeal and Error. The Nebraska Rules of Professional Conduct do not
                    authorize appellate jurisdiction over adverse rulings on claims involv-
                    ing privilege.
                 7. Appeal and Error. The right of appeal in Nebraska is purely statutory.
                 8. Pretrial Procedure: Final Orders: Attorney and Client: Appeal
                    and Error. In the context of discovery orders, an interlocutory order
                                    - 884 -
            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                LOYD v. FAMILY DOLLAR STORES OF NEB.
                           Cite as 304 Neb. 883
     compelling the production of documents for which a claim of privilege
     is asserted is appealable neither as a final order nor under the collateral
     order doctrine.

  Appeal from the Workers’ Compensation Court: John R.
Hoffert, Judge. Appeal dismissed.
    Michael W. Meister for appellant.
  Patrick J. Sodoro and Lyndsey A. Canning, of Law Office of
Patrick J. Sodoro, L.L.C., for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
Papik, and Freudenberg, JJ.
    Heavican, C.J.
                       INTRODUCTION
   This is an appeal from an order disapproving the parties’
application for an order approving a lump-sum settlement on
the grounds that the application was not in compliance with the
Nebraska Workers’ Compensation Act.1 The Nebraska Workers’
Compensation Court found the application was not in the best
interests of the claimant, after the claimant’s attorney objected
to the compensation court’s requirement that he disclose the
amount of his fees. Because the compensation court’s order of
disapproval was not a final, appealable order, we dismiss this
appeal for lack of jurisdiction.
                       BACKGROUND
   On October 12, 2016, the appellant, Cheryl Loyd, filed
a petition seeking benefits under the Nebraska Workers’
Compensation Act for injuries sustained while performing her
job duties at Family Dollar Stores of Nebraska, Inc. (Family
Dollar), the appellee in this matter. Loyd claimed she had
been injured while unloading a truck and had developed a her-
nia as a result. Family Dollar initially denied the claims, but

1
    See Neb. Rev. Stat. § 48-101 et seq. (Reissue 2010, Cum. Supp. 2018 &amp;
    Supp. 2019).
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         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
             LOYD v. FAMILY DOLLAR STORES OF NEB.
                        Cite as 304 Neb. 883
later agreed to settle the dispute for a lump-sum payment of
$150,000, along with the establishment of an interest-bearing
account for additional medical payments. Because Loyd is
a Medicare beneficiary, § 48-139(1)(a) requires the lump-
sum settlement to be submitted to the compensation court for
approval. After the application for approval was submitted,
the compensation court requested that the parties make certain
revisions to the application, provide an itemized list of medical
expenses, and provide the amount of fees and costs to be paid
from the settlement amount to Loyd’s attorney.
   In response to the compensation court’s request, the parties
filed a joint stipulation, which included the requested revisions
and medical expenses. However, the stipulation did not include
the amount of fees and costs, because Loyd’s attorney objected
to the required disclosure. After a hearing on the objection, on
February 15, 2019, the compensation court issued a written
“Order of Disapproval of Lump Sum Settlement Application
and Joint Stipulation.” In its order, the compensation court
found it had the authority to order that the amount of attor-
ney fees and costs be disclosed under § 48-139, because the
statute requires a determination of whether the application
and joint stipulation are in conformity with the compensation
schedule and in the best interests of an employee “under all
the circumstances.”
   Without the amount of fees and costs, the court determined
it was unable to review and approve such fees, as required
by § 48-108, and found that the application and joint stipu-
lation were not in compliance with the Nebraska Workers’
Compensation Act and not in the best interests of Loyd. Both
parties appeal the compensation court’s refusal to approve the
application for a lump-sum settlement.
                ASSIGNMENTS OF ERROR
   Each of the parties’ assignments of error relates to the com-
pensation court’s requirement that Loyd disclose her attorney
fees as a prerequisite to approving the lump-sum settlement
agreement.
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            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
               LOYD v. FAMILY DOLLAR STORES OF NEB.
                          Cite as 304 Neb. 883
   Loyd assigns that the compensation court erred in (1)
failing to recognize that the objection to the required disclo-
sure of attorney fees and costs was Loyd’s assertion of her
attorney-client privilege and not her attorney’s own objec-
tion; (2) misinterpreting and misapplying § 48-108, which
has always been applied to fee disputes between clients and
attorneys or between law firms; and (3) reading meaning into
§§ 48-108 and 48-139 that was not warranted by the language
of the statutes.
   Family Dollar’s sole assignment of error is that the com-
pensation court erred in denying the parties’ settlement appli-
cation for failure to disclose Loyd’s fee agreement with her
attorney, because it hindered the parties’ expectations for
settlement compared to the time, costs, and uncertainty associ-
ated with trial. We note that although Family Dollar assigned
error, it failed to properly present a cross-appeal pursuant to
Neb. Ct. R. App. P. § 2-109 (rev. 2014), because it did not
include the required cross-appeal designation on the cover of
its brief.
                  STANDARD OF REVIEW
   [1] Before reaching the legal issues presented for review,
it is the power and duty of an appellate court to determine
whether it has jurisdiction over the matter before it, irrespec-
tive of whether the issue is raised by the parties.2
   [2] A jurisdictional issue that does not involve a factual
dispute presents a question of law, which an appellate court
independently decides.3
                           ANALYSIS
   [3] The threshold issue we must first address is whether
this court has jurisdiction over the appeal. For an appellate
court to acquire jurisdiction of an appeal, there must be a final
order entered by the court from which the appeal is taken;

2
    State v. Uhing, 301 Neb. 768, 919 N.W.2d 909 (2018).
3
    Heckman v. Marchio, 296 Neb. 458, 894 N.W.2d 296 (2017).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                 LOYD v. FAMILY DOLLAR STORES OF NEB.
                            Cite as 304 Neb. 883
conversely, an appellate court is without jurisdiction to enter-
tain appeals from nonfinal orders.4
   [4] There are three types of final orders which may be
reviewed on appeal,5 one of which is an order that affects a
substantial right made during a special proceeding.6 Because
workers’ compensation proceedings are special proceedings,
the issue is whether the court’s order is final.7
   In a special proceeding, an order is final and appealable if
it affects a substantial right of the aggrieved party. An order
affects a substantial right when the right would be signifi-
cantly undermined or irrevocably lost by postponing appellate
review.8 Stated another way, an order affects a substantial right
if it “‘“affects the subject matter of the litigation, such as
diminishing a claim or defense that was available to the appel-
lant prior to the order from which he or she is appealing.”’”9
   Loyd asserts that this court has jurisdiction because the
appeal was filed within 30 days of the compensation court’s
order disapproving the lump-sum settlement agreement and
joint stipulation. Loyd further asserts that this court has juris-
diction over the appeal, because it centers around § 3-501.6 of
the Nebraska Rules of Professional Conduct10 and the comment
section of the rule specifically allows for appeal under the cir-
cumstances presented in this case.

Compensation Court’s Disapproval.
   [5] Under § 48-139(2)(b)(iv), if an application for approval
of a lump-sum settlement is not approved, the compensation

 4
     Becerra v. United Parcel Service, 284 Neb. 414, 822 N.W.2d 327 (2012).
 5
     Neb. Rev. Stat. § 25-1902 (Reissue 2016).
 6
     Id. 7
     Jacobitz v. Aurora Co-op, 287 Neb. 97, 841 N.W.2d 377 (2013).
 8
     Deines v. Essex Corp., 293 Neb. 577, 879 N.W.2d 30 (2016).
 9
     Id. at 581, 879 N.W.2d at 33-34 (quoting State v. Jackson, 291 Neb. 908,
     870 N.W.2d 133 (2015)).
10
     See Neb. Ct. R. of Prof. Cond. § 3-501.6 (rev. 2019).
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            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                LOYD v. FAMILY DOLLAR STORES OF NEB.
                           Cite as 304 Neb. 883
court may (1) dismiss the application at the cost of the employer
or (2) continue the hearing, in the discretion of the compensa-
tion court. Here, the compensation court did neither. Instead, it
entered an order of disapproval.
   The order of disapproval did not impact the subject matter
of the proceeding. Nor did it prevent Loyd from submitting
another application for approval. Loyd’s case is retained for
further action. Absent an order actually dismissing the appli-
cation, there is no final and appealable order from which
Loyd can appeal. We conclude that the compensation court’s
order of disapproval, standing alone, is not a final, appeal-
able order.
Nebraska Rules of Professional Conduct.
   [6] The Nebraska Rules of Professional Conduct do not, as
Loyd suggests, authorize appellate jurisdiction over adverse
rulings on claims involving privilege. Comment 11 of § 3-501.6
provides:
      A lawyer may be ordered to reveal information relating
      to the representation of a client by a court or by another
      tribunal or governmental entity claiming authority pur-
      suant to other law to compel the disclosure. Absent
      informed consent of the client to do otherwise, the law-
      yer should assert on behalf of the client all nonfrivolous
      claims that the order is not authorized by other law or
      that the information sought is protected against disclo-
      sure by the attorney-client privilege or other applicable
      law. In the event of an adverse ruling, the lawyer must
      consult with the client about the possibility of appeal to
      the extent required by Rule 1.4. Unless review is sought,
      however, paragraph (b)(4) permits the lawyer to comply
      with the court’s order.
   [7] Comment 11 does not confer appellate jurisdiction. The
right of appeal in Nebraska is “‘purely statutory.’”11 Comment

11
     Heckman, supra note 3, 296 Neb. at 461, 894 N.W.2d at 299 (quoting
     Huskey v. Huskey, 289 Neb. 439, 855 N.W.2d 377 (2014)).
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             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                 LOYD v. FAMILY DOLLAR STORES OF NEB.
                            Cite as 304 Neb. 883
11 merely requires the attorney to consult with the client about
the possibility of appeal.
   [8] Moreover, in the context of discovery orders, we have
held that an interlocutory order compelling the production of
documents for which a claim of privilege is asserted is appeal-
able neither as a final order nor under the collateral order
doctrine.12 We have concluded that other available mechanisms
such as mandamus actions and authorized appeals from inter-
locutory civil contempt orders are appropriate and “‘serve
as useful “safety valve[s]” for promptly correcting serious
errors’” in claims involving privileged information.13 Here,
Loyd asserts a claim of privilege; however, the compensation
court’s order was not a final, appealable order. Hence, there is
no appellate jurisdiction in this case.
                       CONCLUSION
   The order from which the parties appeal was not a final,
appealable order. Accordingly, we dismiss this appeal for lack
of jurisdiction.
                                         Appeal dismissed.

12
     See, Hallie Mgmt. Co. v. Perry, 272 Neb. 81, 718 N.W.2d 531 (2006);
     Brozovsky v. Norquest, 231 Neb. 731, 437 N.W.2d 798 (1989).
13
     Schropp Indus. v. Washington Cty. Atty.’s Ofc., 281 Neb. 152, 160, 794
     N.W.2d 685, 693 (2011) (quoting Mohawk Industries, Inc. v. Carpenter,
     558 U.S. 100, 130 S. Ct. 599, 175 L. Ed. 2d 458 (2009)).
